  Case 2:09-cr-20133-JWL           Document 668        Filed 02/15/11   Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
              v.                                   )        Case No. 09-20133
                                                   )
GLADSTONE MCDOWELL,                                )
                                                   )
                      Defendant.                   )
                                                   )



                          MEMORANDUM AND ORDER

       Defendant Gladstone McDowell has been charged with various drug and

money laundering crimes, in violation of sections of Title 18 and Title 21 of the

United States Code.

       Mr. McDowell has filed a motion to dismiss for lack of jurisdiction (doc. 606).

He alleges that Title 21 is unconstitutional because it is “a non-positive law title, that

has not been certified constitutionally by the Supreme Court of the United States.”

(Doc. 606, p. 5.) He also contends that Title 21 “was never enacted into law by

Congress neither was it signed into law by the president.” (Doc. 624, p. 3.) He

further asserts that Title 21 “is inapplicable” to him because he “is not a party to any

contract or agreement to the federal corporate government or sub-agencies.” (Doc.

624, p. 4.)

       The court is confident in the enforceability of Title 21. The relevant portions,
  Case 2:09-cr-20133-JWL        Document 668       Filed 02/15/11     Page 2 of 3




as far as Mr. McDowell is concerned, are sections 841, 846, and 848. All of those

sections were enacted on October 27, 1970 and became effective July 1, 1971. 21

U.S.C. §§ 841, 846, 848. They are generally applicable criminal statutes that can be

enforced against “any person,” regardless of Government contract. Id.

       And although Mr. McDowell asserts that Title 21 has not been certified as

constitutional, the Supreme Court is not permitted to certify statutes as constitutional

without a justiciable case or controversy. Holder v. Humanitarian Law Project, 130

S. Ct. 2705, 2717 (2010). Instead, acts of Congress are presumed constitutional.

United States v. Booker, 125 S. Ct. 738, 779-80 (2005). Moreover, the Tenth Circuit

has evaluated portions of Title 21 in response to a case or controversy and has

concluded that it was enacted pursuant to “Congress’ [constitutional] power to

regulate interstate commerce.” United States v. Price, 265 F.3d 1097, 1106-07 (10th

Cir. 2001).

       Mr. McDowell also makes much of the Office of Law Revision Counsel’s

process of codifying statutes as “positive laws.” Positive law codification is the

process of reviewing and editing existing laws by improving organization, deleting

obsolete provisions, and correcting technical errors. Positive Law Codification in the

United States Code at 2.1 Mr. McDowell is correct that Title 21 has not yet been

through this review process, but, as noted above, it has been enacted by Congress as



       1
           http://uscode.house.gov/codification/Positive%20Law%20Codification.pdf

                                            2
  Case 2:09-cr-20133-JWL        Document 668      Filed 02/15/11    Page 3 of 3




an enforceable criminal statute. Indeed, provisions in “non-positive laws” are prima

facie evidence of the actual law, id. at 4, and Mr. McDowell has made no attempt to

rebut the presumption that the words of Title 21 represent the enacted intent of

Congress.




IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion to

dismiss (doc. 606) is denied.




       IT IS SO ORDERED this 15th day of February, 2011.

                                   s/ John W. Lungstrum

                                   John W. Lungstrum
                                   United States District Judge




                                           3
